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                     UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


 CURTIS MCDONALD, individually and on
 behalf of all others similarly situated,

                          Plaintiff,
                                                  Case No. 1:17-cv-08154
               v.
                                                  Hon. Judge Robert M. Dow
 ABM INDUSTRIES INCORPORATED, a
 Delaware corporation, and ABM AVIATION,          Hon. Magistrate Judge M. David Weisman
 INC., a Georgia corporation,

                          Defendants.


                           DEFENDANTS’ NOTICE OF FILING

       Defendants ABM Industries Incorporated and ABM Aviation, Inc. hereby provide this

Honorable Court with notice that on May 30, 2018, the Illinois Supreme Court granted the petition

for leave to appeal filed by Stacy Rosenbach in the Rosenbach v. Six Flags Entertainment action.

See Rosenbach v. Six Flags Entertainment Corporation, No. 123186, 2018 WL 2452269.

Dated: June 18, 2018                        BENESCH, FRIEDLANDER,
                                            COPLAN & ARONOFF LLP

                                            By:     /s/ David S. Almeida

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                                            Aviation, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Clerk of the
Court and that copies of the foregoing were transmitted to all parties of record via the Court’s
CM/ECF electronic filing system.


                                                      /s/ David S. Almeida




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